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 9

10

11                                     UNITED STATES DISTRICT COURT

12                                    NORTHERN DISTRICT OF CALIFORNIA

13    MICHAEL KLIMENT as co-successor-in                Case No. 4:20-cv-03257-YGR
      interest for Decedent, CHRISTOPHER PAUL
14    KLIMENT; LINDA KLIMENT as co-                     DEFENDANT CITY AND COUNTY OF SAN
      successor-in-interest for Decedent,               FRANCISCO’S ANSWER TO PLAINTIFFS’
15    CHRISTOPHER PAUL KLIMENT,                         FIRST AMENDED COMPLAINT

16           Plaintiffs,
                                                        Trial Date: Not Set
17           vs.

18    CITY AND COUNTY OF SAN
      FRANCISCO, a municipal corporation; and
19    DOES 1-50, inclusive, individually, jointly and
      severally,
20
             Defendants.
21

22

23          Defendant CITY AND COUNTY OF SAN FRANCISCO (the “City” or “Defendant”) hereby

24   answers Plaintiffs Michael Kliment and Linda Kliment’s (“Plaintiffs”) First Amended Complaint

25   (“FAC”), filed October 12, 2020 (Doc. No. 18). Unless specifically admitted below, all allegations in

26   the FAC are denied.

27   ///

28   ///
      Def. CCSF’s Answer to Ps’ FAC                      1                         n:\lit\li2020\200947\01488259.docx
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 1                                               INTRODUCTION

 2          1. Answering paragraph 1 of Plaintiffs’ FAC, Defendant neither admits nor denies the

 3   allegations of legal matters, which are not proper for admission or denial. Defendant denies that its

 4   employees or police officers committed “violations” or “torts.” Defendant lacks sufficient information

 5   on which to form a belief as to the truth or falsity of the allegations regarding unidentified police

 6   officers, and on that basis, denies each and every allegation.

 7                                       JURISDICTION AND VENUE

 8          2. Answering paragraph 2 of Plaintiffs’ FAC, Defendant neither admits nor denies the

 9   allegations of legal matters, which are not proper for admission or denial. Defendant denies that its

10   employees or police officers committed “unlawful acts and practices.” Defendant admits that the

11   alleged incident occurred in the district for this Court.

12                                                   PARTIES

13          3. Answering paragraph 3 of Plaintiffs’ FAC, Defendant lacks information and belief as to the

14   truth of the factual allegations in this paragraph, and on that basis denies the allegations.

15          4. Answering paragraph 4 of Plaintiffs’ FAC, Defendant lacks information and belief as to the

16   truth of the factual allegations in this paragraph, and on that basis denies the allegations.

17          5. Answering paragraph 5 of Plaintiffs’ FAC, Defendant lacks information and belief as to the

18   truth of the factual allegations in this paragraph, and on that basis denies the allegations.

19          6. Answering paragraph 6 of Plaintiffs’ FAC, Defendant neither admits nor denies the

20   allegations of legal matters, which are not proper for admission or denial. To the extent a response is

21   required, Defendant admits that it is a public entity and is authorized and exists under the laws of the

22   State of California, and that it employed the unidentified police officers involved in the subject

23   incident. Except as specifically admitted, Defendant denies generally and specifically the remaining

24   allegations in this paragraph.

25          7. Answering paragraph 7 of Plaintiffs’ FAC, Defendant neither admits nor denies the

26   allegations of legal matters, which are not proper for admission or denial. Defendant denies that

27   Plaintiffs sustained any “injuries and damages.”

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 1                                        FACTUAL ALLEGATIONS

 2          8. Answering paragraph 8 of Plaintiffs’ FAC, Defendant admits that the incident occurred on

 3   January 5, 2019 at CPMC’s Mission Bernal Campus (hereafter, the “hospital”), located at 3555 Cesar

 4   Chavez in San Francisco. Except as specifically so admitted, Defendant lacks information and belief

 5   as to the truth of the remaining factual allegations in this paragraph, and on that basis denies those

 6   allegations.

 7          9. Answering paragraph 9 of Plaintiffs’ FAC, Defendant admits that on the date of the

 8   incident, Christopher Paul Kliment (hereafter, “Mr. Kliment”) was intoxicated because of

 9   methamphetamine and marijuana use and was admitted to the hospital for evaluation by medical staff.

10   Except as specifically so admitted, Defendant lacks information and belief as to the truth of the

11   remaining factual allegations in this paragraph, and on that basis denies those allegations.

12          10. Answering paragraph 10 of Plaintiffs’ FAC, Defendant admits that after evaluating Mr.

13   Kliment, medical staff at the hospital discharged him. Defendant also admits that Mr. Kliment refused

14   to leave the hospital, that two SFPD officers spoke to Mr. Kliment at the hospital, that Mr. Kliment

15   attacked the officers, that the officers attempted to place Mr. Kliment in handcuffs, that Mr. Kliment

16   resisted arrest, that the officers brought Mr. Kliment to the floor and applied control holds, that the

17   officers handcuffed Mr. Kliment, that the officers held Mr. Kliment to the floor in a prone position

18   because he resisted arrest and attempted to attack the officers, that additional police officers arrived at

19   the hospital to assist in removing Mr. Kliment from the hospital, that the officers applied a leg restraint

20   to Mr. Kliment to prevent him from injuring himself and others, that the officers carried Mr. Kliment

21   out of the emergency area of the hospital, that eventually Mr. Kliment stopped resisting and was

22   moving less, that the officers checked Mr. Kliment’s pulse a number of times, that one of the officers

23   failed to detect a pulse for Mr. Kliment and began administering CPR to Mr. Kliment, that the officers

24   asked hospital staff to provide medical care for Mr. Kliment, and that hospital staff provided medical

25   treatment to Mr. Kliment. Defendant denies that any control hold used by any police officer on Mr.

26   Kliment was unreasonable or interfered with his ability to breath, and denies that asphyxiation was the

27   cause of Mr. Kliment’s cardiac arrest. Except as specifically so admitted, Defendant lacks information

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 1   and belief as to the truth of the remaining factual allegations in this paragraph, and on that basis denies

 2   those allegations.

 3          11. Answering paragraph 11 of Plaintiffs’ FAC, Defendant admits that Mr. Kliment died at

 4   approximately 7:19 p.m. on January 7, 2019. Except as specifically so admitted, Defendant lacks

 5   information and belief as to the truth of the remaining factual allegations in this paragraph, and on that

 6   basis denies those allegations.

 7          12. Answering paragraph 12 of Plaintiffs’ FAC, Defendant admits that the officer who initially

 8   spoke with Mr. Kliment suspected that Mr. Kliment was intoxicated. Defendant also admits that the

 9   San Francisco Medical Examiner conducted an autopsy of Mr. Kliment and created a report for the

10   autopsy, and that the autopsy report stated that the “manner of death” was “accident” and the “method

11   of death” was “drug-related.” Defendant also admits that the autopsy report stated that after Mr.

12   Kliment used methamphetamine and marijuana, and while he was in the custody of SFPD police

13   officers, he stopped breathing which lead to a heart attack. Defendant also admits that the “cause of

14   death” stated in the autopsy report was “cardiopulmonary complications of methamphetamine and

15   cannabinoid intoxication with law enforcement restraint,” and “other conditions” included “clinical

16   history of . . . polysubstance use.” Defendant denies that any police officers knew that Mr. Kliment

17   was having a “methamphetamine-related medical emergency,” that Mr. Kliment “was not resisting in

18   any way,” that a “high level use of force” was used, and that Mr. Kliment was “at a higher risk of

19   death during prone restraint.” Except as specifically so admitted, Defendant lacks information and

20   belief as to the truth of the remaining factual allegations in this paragraph, and on that basis denies

21   those allegations.
                                         FIRST CAUSE OF ACTION
22                                          (42 U.S.C. section 1983)
                                               (Excessive Force)
23                                      (Against CCSF and DOES 1-50)
24          13. Answering paragraph 13 of Plaintiffs’ FAC, Defendant neither admits nor denies the

25   allegations as to legal matters, which are not proper for admission or denial.

26          14. Answering paragraph 14 of Plaintiffs’ FAC, Defendant neither admits nor denies the

27   allegations as to legal matters, which are not proper for admission or denial.

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 1           15. Answering paragraph 15 of Plaintiffs’ FAC, Defendant denies all of the allegations,

 2   including that Mr. Kliment never posed any threat to the police officers, that any police officer

 3   violated Mr. Kliment’s or Plaintiffs’ rights, and that any control hold used by any police officer on Mr.

 4   Kliment was unreasonable or interfered with his ability to breathe. Defendant lacks information and

 5   belief as to the truth of the remaining factual allegations in this paragraph, and on that basis denies

 6   those allegations.

 7           16. Answering paragraph 16 of Plaintiffs’ FAC, Defendant denies all of the allegations,

 8   including that any police officer knew that Mr. Kliment was “suffering a medical emergency,” that

 9   Mr. Kliment never posed any danger to the police officers, that Mr. Kliment did not commit any

10   crime, that any control hold used by any police officer on Mr. Kliment was unreasonable or interfered

11   with his ability to breathe, that any police officer violated their training, and that any officer

12   “intentionally asphyxiated” Mr. Kliment.

13           17. Answering paragraph 17 of Plaintiffs’ FAC, Defendant neither admits nor denies the

14   allegations as to legal matters, which are not proper for admission or denial.

15                                 SECOND CAUSE OF ACTION
                (14th Amendment Substantive Due Process – Right to Familial Relationship)
16                                 (Against CCSF and DOES 1-50)
17           18. Answering paragraph 18 of Plaintiffs’ FAC, Defendant neither admits nor denies the

18   allegations as to legal matters, which are not proper for admission or denial.

19           19. Answering paragraph 19 of Plaintiffs’ FAC, Defendant denies all of the allegations,

20   including that any police officer violated Mr. Kliment’s or Plaintiffs’ rights, that any control hold used

21   by any police officer on Mr. Kliment was unreasonable or interfered with his ability to breathe, that

22   any officers caused Mr. Kliment’s death, that the force used on Mr. Kliment by the officers was “all

23   without provocation,” that any officers acted “with an intent to harm” Mr. Kliment,” and that any

24   officer lacked “legitimate law enforcement purposes” during the incident.

25           20. Answering paragraph 20 of Plaintiffs’ FAC, Defendant neither admits nor denies the

26   allegations as to legal matters, which are not proper for admission or denial.

27   ///

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 1                                               JURY DEMAND

 2           Answering the penultimate paragraph of Plaintiffs’ FAC, Defendant neither admits nor denies

 3   the statement because it is a legal matter not proper for admission or denial. Defendant demands a

 4   jury trial.

 5                                                   PRAYER

 6           Answering the final paragraph of Plaintiffs’ FAC, Defendant denies that Plaintiffs are entitled

 7   to any relief. Defendant lacks sufficient information on which to form a belief as to the truth or falsity

 8   of the allegations regarding the injuries allegedly sustained by Plaintiffs, and on that basis, deny each

 9   and every allegation of injury.

10

11                               DEFENDANT’S AFFIRMATIVE DEFENSES

12                                      FIRST AFFIRMATIVE DEFENSE

13                              (Failure to State a Claim Under 42 § U.S.C. 1983)

14           Defendant asserts that Plaintiffs have failed to allege facts in the FAC sufficient to state a claim

15   for relief under 42 U.S.C. section 1983 against the City and County of San Francisco, its agents,

16   employees, or its police officers.

17                                     SECOND AFFIRMATIVE DEFENSE

18                                            (Assumption of the Risk)

19           Defendant asserts that Christopher Paul Kliment (hereafter, the “decedent”) had full knowledge

20   of the risks involved in the activities in which he was engaged at the time of the incident set forth in

21   the FAC herein; that the decedent voluntarily assumed all the risks incident to the activities engaged in

22   at the time and place mentioned in the FAC; and that the loss or damage, if any, sustained by the him

23   or by Plaintiffs was caused by said risks that were accepted and voluntarily assumed by him.

24                                      THIRD AFFIRMATIVE DEFENSE

25                                    (Decedent’s Conduct Reckless and Wanton)

26           Defendant asserts that at all times mentioned in the FAC herein, the decedent acted in a

27   careless, reckless, wanton and negligent manner in and about the matters set forth in the FAC; that

28   such careless, reckless, wanton and negligent conduct proximately contributed to the injuries and
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 1   damages, if any, sustained or claimed by him and/or Plaintiffs, and that as a consequence, Plaintiffs'

 2   claims are barred.

 3                                    FOURTH AFFIRMATIVE DEFENSE

 4                                        (Privileged and Justified Conduct)

 5          Defendant’s conduct at all times material herein was privileged and/or justified under

 6   applicable state and federal law.

 7                                       FIFTH AFFIRMATIVE DEFENSE

 8                                            (Privilege – Self Defense)

 9          Defendant asserts that if any force was used by its employees against the decedent herein, the

10   use of force was the lawful exercise of the right of self-defense and defense of the public and

11   privileged by law, and any recovery pursuant to the use of force is barred.

12                                       SIXTH AFFIRMATIVE DEFENSE

13                                                     (Arrest)

14          Defendant asserts that if any force was used to effect the arrest of the decedent herein by any

15   employee of Defendant, such force was authorized and privileged pursuant to sections 835 and 835a of

16   the California Penal Code, and as a proximate result thereof Plaintiffs are barred from any recovery

17   herein for any alleged injury or damage.

18                                    SEVENTH AFFIRMATIVE DEFENSE

19                                                (Resisting Arrest)

20          Defendant asserts that the decedent was under a duty pursuant to section 834a of the California

21   Penal Code to refrain from using force to resist his arrest; that the decedent breached his duty even

22   though he knew, or by the exercise of reasonable care should have known, that he was being arrested

23   by a peace officer; that as a direct and proximate result of the decedent’s breach of this duty, he is

24   barred from recovery for any loss or damage he may have incurred.

25                                    EIGHTH AFFIRMATIVE DEFENSE

26                                          (Decedent Assaulted Police)

27          Defendant asserts that at all times mentioned in Plaintiffs’ FAC herein, the decedent willfully,

28   wantonly, maliciously, and unlawfully committed a violent assault on the persons of the arresting
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 1   officers; that it became and was necessary to use force on the person of the decedent to defend the

 2   arresting officers from his violent assault on their persons; that the injuries, if any, and damages, if

 3   any, incurred by the decedent were proximately caused by the necessary use of reasonable force on the

 4   person of the decedent and not otherwise; and that by reason of the decedent instituting a violent

 5   assault on the persons of the arresting officers, the decedent’s failure and refusal to desist from

 6   continuing the assault, and the consequent necessity to use reasonable force to defend the arresting

 7   officers from the assault, Plaintiffs’ claims, if any, are barred by law.

 8                                     NINTH AFFIRMATIVE DEFENSE

 9                                     (Justified and Necessary Use of Force)

10          Defendant asserts that no more force was used on the decedent’s person than was necessary to

11   effect detention, overcome any resistance thereto, prevent escape therefrom, and prevent injury to the

12   officers and the public and to facilitate and safeguard a valid arrest.

13                                     TENTH AFFIRMATIVE DEFENSE

14                                              (Qualified Immunity)

15          Defendant and its employees are immune from suit under the doctrine of qualified immunity.

16                                    ELEVENTH AFFIRMATIVE DEFENSE

17                                                  (Good Faith)

18          Defendant asserts that its employees, officials and agents were at all times material hereto

19   acting with both subjective and objective good faith, such that any claim for relief that Plaintiffs may

20   have is barred by law.

21                                    TWELFTH AFFIRMATIVE DEFENSE

22                                    (Defendant’s Acts Not a Proximate Cause)

23          Defendant states that any act or omission on the part of the answering Defendant, its agents or

24   employees, was not the proximate cause of any injury to the decedent or Plaintiffs.

25                                THIRTEENTH AFFIRMATIVE DEFENSE

26                                              (Denial of Damages)

27          Defendant denies that the decedent or Plaintiffs have been damaged in any sum or sums, or

28   otherwise, or at all, by reason of any act or omission of Defendant.
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 1                                FOURTEENTH AFFIRMATIVE DEFENSE

 2                                              (Statute of Limitations)

 3          Defendant asserts that the FAC, and each and every claim set forth therein, is barred by the

 4   applicable statute of limitations.

 5                                    FIFTENTH AFFIRMATIVE DEFENSE

 6                                                    (Estoppel)

 7          By reason of the decedent’s and/or Plaintiffs’ own acts and omissions, Plaintiffs are estopped

 8   from seeking any recovery from Defendant by reason of the allegations set forth in the FAC.

 9                                    SIXTEENTH AFFIRMATIVE DEFENSE

10                                        (Failure to Exhaust Remedies)

11          Plaintiffs have failed to exhaust their administrative or contractual remedies.

12                               SEVENTEENTH AFFIRMATIVE DEFENSE

13                                        (Failure to Mitigate Damages)

14          The FAC and each and every claim for relief therein are barred because the decedent and/or

15   Plaintiffs failed to mitigate damages.

16                                EIGHTEENTH AFFIRMATIVE DEFENSE

17                                             (Comparative Negligence)

18          Defendant asserts by way of a plea of comparative negligence that the decedent was negligent

19   in and about the matters and activities alleged in the FAC; that the decedent’s negligence contributed

20   to and was a proximate cause of his and/or Plaintiffs’ alleged injuries and damages, if any, or was the

21   sole cause thereof; and that if Plaintiffs are entitled to recover damages against Defendant by virtue of

22   the FAC, Defendant prays that the recovery be diminished or extinguished by reason of the negligence

23   of the decedent in proportion to the degree of fault attributable to the decedent.

24                                NINETEENTH AFFIRMATIVE DEFENSE

25                                            (Claim and Issue Preclusion)

26          The FAC and each claim for relief therein are barred by the doctrines of res judicata and

27   collateral estoppel.

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 1                                TWENTIETH AFFIRMATIVE DEFENSE

 2                                            (No Punitive Damages)

 3          Defendant asserts that it is not liable for punitive damages because neither it, nor its

 4   employees, acted maliciously, fraudulently, or with an intent to harm the decedent and/or Plaintiffs or

 5   to deprive them of any legally protected right.

 6                               TWENTY-FIRST AFFIRMATIVE DEFENSE

 7                                      (Immunity: Exemplary Damages)

 8          Defendant City and County of San Francisco alleges that it, as a public entity, is immune from

 9   liability for exemplary damages herein pursuant to section 818 of the California Government Code.

10                               ADDITIONAL AFFIRMATIVE DEFENSES

11          Defendant presently has insufficient knowledge or information on which to form a belief as to

12   whether it may have additional, as yet unstated, defenses available. Defendant reserves the right to

13   assert additional defenses in the event that discovery indicates that they would be appropriate.

14          WHEREFORE, Defendant prays for judgment as follows:

15          1.      That Plaintiffs take nothing from Defendant;

16          2.      That the First Amended Complaint be dismissed with prejudice;

17          3.      That Defendant recovers costs of suit herein, including attorneys’ fees; and

18          4.      For such other relief as is just and proper.

19   DATE: October 26, 2020                          DENNIS J. HERRERA
                                                     City Attorney
20                                                   MEREDITH B. OSBORN
                                                     Chief Trial Deputy
21                                                   CHRISTOPHER B. WHITMAN
                                                     Deputy City Attorney
22

23                                             By:      /s/ Christopher B. Whitman                                  .
                                                     CHRISTOPHER B. WHITMAN
24                                                   Attorneys for Defendant
                                                     CITY AND COUNTY OF SAN FRANCISCO
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